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                             IN THE UNITED STATES DISTRICT COURT
                            FOR THE SOUTHERN DISTRICT OF FLORIDA
               Case Number:__________________-CV-_____________________

ANDRES GOMEZ,
               Plaintiff,
V.
BL RESTAURANT OPERATIONS, LLC,
               Defendant.
__________________________________________/

                                                 COMPLAINT
       ANDRES GOMEZ (“Plaintiff Gomez” or “Plaintiff”), seeks a permanent injunction requiring a

change in BL RESTAURANT OPERATIONS (“Defendant” or the “Company”) corporate polices to

cause Defendant’s website to become, and remain, accessible and in support thereof asserts as follows:

                                              INTRODUCTION

       1.      Plaintiff brings this action against Defendant and asserts that its website is not accessible
to blind and visually impaired consumers in violation of Title III of the Americans with Disabilities

Act, 42 U.S.C. § 12101 et seq. (the “ADA”) and Florida Statutes §760.02 and §509.092, resulting in a

barrier to access the goods and services offered at Defendant’s physical brick and mortar restaurant.

Plaintiff seeks a permanent injunction to cause a change in Defendant’s corporate policies related to

its web-based technologies so that Defendant’s website will become, and will remain, accessible. The

website(s) at issue is www.barlouie.com (the “Website”).

       2.       While the increasing pervasiveness of digital information presents an

unprecedented opportunity to increase access to goods and services for people with perceptual or motor

disabilities, website developers and web content developers often implement digital technologies without

regard to whether those technologies can be accessed by individuals with disabilities. This is

notwithstanding the fact that accessible technology is both readily available and cost effective.


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       3.        Blind and visually impaired consumers must use screen reading software or other assistive
technologies in order to access website content. Defendant’s Website contains digital barriers which limit
the ability of blind and visually impaired consumers to access the site.

       4.        Plaintiff has patronized Defendant’s Website in the past, and intends to continue to

patronize Defendant’s Website and Defendant’s brick and mortar restaurant in the future. However,

unless Defendant is compelled to eliminate the access barriers at issue, and required to change its

policies so that access barriers do not reoccur on Defendant’s Website, Plaintiff will continue to be

denied full access to the Website as described, and will be deterred from fully using Defendant’s Website

and having equal access to the goods and services offered at Defendant’s brick and mortar restaurant

which visually capable individuals currently enjoy.

       5.      The ADA expressly contemplates the type of injunctive relief that Plaintiff seeks in this
action. In relevant part, the ADA requires:

       [i]n the case of violations of . . . this title, injunctive relief shall include an order to alter
       facilities to make such facilities readily accessible to and usable by individuals with
       disabilities....Where appropriate, injunctive relief shall also include requiring the . . .
       modification of a policy. . . 42 U.S.C. § 12188(a)(2).

       6.      Plaintiff invokes 42 U.S.C. § 12188(a)(2) and seeks a permanent injunction requiring:



       a)      that Defendant retain a qualified consultant acceptable to Plaintiff (“Mutually Agreed
       Upon Consultant”) who shall assist it in improving the accessibility of the Website so that it complies
       with version 2.0 of the Web Content Accessibility Guidelines (“WCAG 2.0 AA”);

       b)       that Defendant work with the Mutually Agreed Upon Consultant to ensure that all
       employees involved in website development and content development be given web accessibility
       training on a periodic basis calculated to achieve ongoing compliance with WCAG 2.0 AA;

       c)       that Defendant work with the Mutually Agreed Upon Consultant to perform an automated
       accessibility audit on a periodic basis to evaluate whether Defendants’ Website continues to comply
       with WCAG 2.0 AA on an ongoing basis;

       d)      that Defendant work with the Mutually Agreed Upon Consultant to perform end-user
       accessibility/usability testing on a periodic basis with said testing to be performed by individuals
                                                                                                       with

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         various disabilities to evaluate whether Defendants’ Website continues to comply with WCAG
         2.0 AA on an ongoing basis; and,

         e)       that Defendant work with the Mutually Agreed Upon Consultant to evaluate whether
         the inaccessible website has been rendered accessible, and whether corporate policies related
         to web- based technologies have been changed in a meaningful manner that will cause the
         website to remain accessible, the website must be reviewed on periodic basis using both
         automated accessibility screening tools and end user testing by disabled individuals.

                                        JURISDICTION AND VENUE

         7.     This Court has federal question jurisdiction pursuant to 28 U.S.C. §1331 and 42 U.S.C. §

12188.

         8.     Plaintiff’s claims asserted herein arose in this judicial district and Defendant does

substantial business in this judicial district.

         9.     Venue in this judicial district is proper under 28 U.S.C. § 1391(b)(2) in that this is the
judicial district in which a substantial part of the acts and omissions giving rise to the claims occurred.


         10.    Plaintiff seeks declaratory and injunctive relief pursuant to 28 U.S.C. §§ 2201 and 2202.


         11.    The remedies provided by F.S.§760 are not exclusive. State administrative remedies

need not be exhausted in connection with suits brought under the ADA.


         12.    This Court has Supplemental Jurisdiction under 28 U.S.C. §§ 1367(a) over the

forthcoming State law claim under §760.02 and §509.092 as the state law claims asserted herein form

part of the same case and these issues do not raise novel or complex issues of state law, the claims do

not substantially predominate over the ADA claim and there are no other exceptional or compelling

reasons for this Court to decline jurisdiction.




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                                                PARTIES

        13.     Plaintiff Gomez and, at all times relevant hereto, has been a resident of the State of

Florida. Plaintiff Gomez is and, at all times relevant hereto, has been legally blind and is therefore a

member of a protected class under the ADA, 42 U.S.C. § 12102(2) and the regulations implementing

the ADA set forth at 28 CFR §§ 36.101 et seq. Plaintiff is substantially limited to performing the major

life activity of sight.


        14.     Defendant, BL RESTAURANT OPERATIONS, LLC, is a for profit company doing

significant business in this judicial district. Defendant has physical brick and mortar restaurant locations

throughout the United States. Defendant owns operates and maintains brick and mortar restaurants in the

State of Florida and specifically at 11745 Sherry Lane, Miami, FL 33183 which Plaintiff would and

has attempted to frequent if not for the digital barriers that impede his access to the location and the

goods and service offered there.

        15.     Defendant’s restaurant offers goods and services to the public. Defendant also offers

goods and services to the public through the Website. Defendant’s brick and mortar establishment and

website are integrated and are public accommodations pursuant to 42 U.S.C. § 12181(7).


                          FACTUAL BACKGROUND AND ALLEGATIONS


        16.     The Internet has become a significant source of information and a means for conducting

 everyday activities such as shopping, banking, etc. for both sighted and blind and visually-impaired

 persons, as well as individuals with other perceptual or motor disabilities.

        17.     Blind individuals may access websites by using keyboards in conjunction with screen reader

 software that converts text to audio. Screen reader software provides the primary method by which a

 blind person may independently use the Internet. Unless websites are designed to be read by screen

 reader software, blind individuals are unable to fully access websites and the information, products and


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 services available through the sites. The international website standards organization, W3C, has published

 WCAG 2.0 AA. WCAG 2.0 AA provides widely accepted guidelines for making websites accessible to

 individuals with disabilities. These guidelines have been endorsed by the United States Department

 of Justice and numerous federal courts.

       18.        Plaintiff is permanently blind and uses one of the most popular screen reader software in the

 world in order to access the Internet and website content.

       19.     Through the Website, Defendant offers listings of food items, description of food items,

 address to the restaurant, and phone number.

       20.     However, Defendant’s website is improperly coded as to dis-allow Plaintiff, and others

 with visual disabilities, to adequately access this information as the Website is not compatible with the

 most popular screen reader software.

       21.     If Defendant’s Website were coded properly, Plaintiff would be able to know what the food

 items are, be able to determine the ingredients used, whether the restaurant has gluten free ingredients,

 find the restaurant, determine which food items are appetizing, determine if Plaintiff can afford the food

 for sale at the restaurant and then travel to said restaurant to utilize the currently inaccessible information

 on the website to patronize the store as a sighted person might.

       22.     However, because the Defendant’s Website is not accessible to visually impaired

 individuals like Plaintiff, Plaintiff is unable to know what is featured on the food menu, unable to

 determine the restaurant location, unable to determine whether there are gluten free items, unable to

 determine whether he can afford the food items for sale, unable to determine the phone number of the

 restaurant, and therefore unable to patronize Defendant’s physical restaurant as a sighted person might.

       23.     There is a physical nexus between Defendant’s website and physical restaurant

establishment in that the website provides the telephone contact information, the actual location of restaurant,


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access to descriptions of food and drinks found at the location and information on special dietary

considerations like whether some menu items served at the restaurant are gluten free. Plaintiff has been

denied access to this information based on Defendant’s improperly coded website that is incompatible with

Plaintiff’s screen reader software and therefore unable to adequately patronize Defendant’s brick and mortar

store in a substantially equal manner to that of a person with full visual faculties.

        24.        Despite several attempts to use and navigate the Website, due to the access barriers on the

Defendant’s Website, Plaintiff has been denied the full use and enjoyment of the facilities, goods and services

available on the Website and at Defendant’s restaurant.

        25.        The barriers at the Website have caused a denial of Plaintiff’s full and equal access multiple

times in the past. These digital barriers deter Plaintiff from attempting to use Defendant’s website and

visiting Defendant’s physical brick and mortar restaurant. However, Plaintiff intends to use the

website in the future and access Defendant’s restaurant once the Website becomes accessible.

        26.      The access barriers at the Website that Plaintiff has encountered include but are not

limited to, the following:


              a) Text equivalent for every non-text element is not provided;
              b) Information about the meaning and structure of the Website’s content is not conveyed by more
              than the visual presentation of content;
              c) When the sequence in which content is presented affects its meaning, a correct reading
              sequence cannot be programmatically determined;

              d) Web pages do not have titles that describe topic or purpose; and,

              e) Images on the website are not explained to the user with use of a screen reader program;


        27.       If the Website were accessible, Plaintiff could independently shop for and research food

items via Defendant’s website, then utilize that information to visit and eat at Defendant’s brick and

mortar restaurant.

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       28.     Upon information and belief, Defendant has never had a plan or policy that is reasonably

calculated to make its Website fully accessible to, and independently usable by blind people.

       29.     Plaintiff is without adequate remedy at law, is suffering irreparable harm, and reasonably

anticipates that he will continue to suffer irreparable harm unless and until Defendant is

       required to modify its website to correct the discriminatory conditions as set forth herein. The

relief requested serves the public interest and the benefit to Plaintiff and the public far outweigh any

detriment to Defendant.

       30.     Without injunctive relief, Plaintiff and other blind individuals will continue to be unable to

independently use the Website in violation of their rights under the ADA.

       31.      Plaintiff has been obligated to retain the undersigned counsel for the filing and prosecution of

this action, and has agreed to pay the undersigned counsel reasonable attorney’s fees, costs, and expenses

from Defendant pursuant to 42 U.S.C. § § 12205 and 12117, and Plaintiff is entitled to attorney’s fees, costs,

and expenses from Defendant.


                                    SUBSTANTIVE VIOLATION
                              (Title III of the ADA, 42 U.S.C. § 12181 et
                                                  seq.)
       32.     The allegations contained in paragraphs 1 through 31 are re-alleged herein.

       33.     Section 302(a) of Title III of the ADA, 42 U.S.C. § 12101 et seq., provides: “No individual

shall be discriminated against on the basis of disability in the full and equal enjoyment of the goods,

services, facilities, privileges, advantages or accommodations of any place of public accommodation

by any person who owns, leases (or leases to), or operates a place of public accommodation.” 42 U.S.C.

       § 12182(a).

       34.     Defendant’s restaurant and integrated website are public accommodations within the definition

of Title III of the ADA, 42 U.S.C. § 12181(7).


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       35.     There is a physical nexus between Defendant’s website and physical restaurant in that the

Website provides the contact information of the restaurant, description of menu items, special events and access

to detailed information on the location of the restaurant.

       36.     This information cannot be presented to Plaintiff, and others with visual disabilities, due to the

inaccessible nature of Defendant’s Website in that the Website is not properly coded to be compatible with

common screen reader software utilized by Plaintiff and others with visual disabilities.

       37.     Under Section 302(b)(1) of Title III of the ADA, it is unlawful discrimination to deny

individuals with disabilities the opportunity to participate in or benefit from the goods, services, facilities,

privileges, advantages or accommodations of an entity. 42 U.S.C. § 12182(b)(1)(A)(i).

       38.     By having a website which is not properly coded to be compatible with common screen reader

software utilized by Plaintiff and others with visual disabilities, Defendant is in violation of 42 U.S.C. §

12182(b)(1)(A)(i).

       39.     Under Section 302(b)(1) of Title III of the ADA, it is unlawful discrimination to deny

individuals with disabilities an opportunity to participate in or benefit from the goods, services, facilities,

privileges, advantages or accommodations, which is equal to the opportunities afforded to other individuals.

42 U.S.C. §12182(b)(1)(A)(ii).

       40.     By having a website which is not properly coded to be compatible with common screen reader

software utilized by Plaintiff and others with visual disabilities, Defendant is in violation of 42 U.S.C.

§12182(b)(1)(A)(ii).

       41.     Under Section 302(b)(2) of Title III of the ADA, unlawful discrimination also includes,

among other things: “a failure to make reasonable modifications in policies, practices or procedures, when

such modifications are necessary to afford such goods, services, facilities, privileges, advantages or

accommodations to individuals with disabilities, unless the entity can demonstrate that making such


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modifications would fundamentally alter the nature of such goods, services, facilities, privileges, advantages or

accommodations; and a failure to take such steps as may be necessary to ensure that no individual with a

disability is excluded, denied services, segregated or otherwise treated differently than other individuals

because of the absence of auxiliary aids and services, unless the entity can demonstrate that taking such

steps would fundamentally alter the nature of the good, service, facility, privilege, advantage or

accommodation being offered or would result in an undue burden.” 42 U.S.C. § 12182(b)(2)(A)(ii)-(iii);

see also 28 C.F.R. § 36.303(a).

       42.     By having a website which is not properly coded to be compatible with common screen reader

software utilized by Plaintiff and others with visual disabilities, Defendant is in violation of 42 U.S.C. §

12182(b)(2)(A)(ii)-(iii) and 28 C.F.R. § 36.303(a).

       43.     Title III requires that “[a] public accommodation shall furnish appropriate auxiliary aids

and services where necessary to ensure effective communication with individuals with disabilities.” 28

       C.F.R. § 36.303(c)(1). The regulation sets forth numerous examples of “auxiliary aids and

services,” including “...accessible electronic and information technology; or other effective methods

of making visually delivered materials available to individuals who are blind or have low vision.” 28

C.F.R. § 36.303(b).

       44.     By having a website which is not properly coded to be compatible with common screen reader

software utilized by Plaintiff and others with visual disabilities, Defendant is in violation of 28 C.F.R. §

36.303(b).

       45.     The acts alleged herein constitute violations of Title III of the ADA, and the regulations

promulgated thereunder. Plaintiff, who is blind and has disabilities that substantially limit the major life

activity of seeing within the meaning of 42 U.S.C. §§ 12102(1)(A) and (2)(A), has been denied full and

equal access to Defendant’s Website because of his disability. He has not been provided services that are


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provided to other patrons who are not disabled, and/or have been provided services that are inferior to the

services provided to non-disabled persons. Defendant has failed to take any prompt and equitable steps to

remedy its discriminatory conduct. These violations are ongoing.

       46.     Pursuant to 42 U.S.C. § 12188 and the remedies, procedures and rights set forth and

incorporated therein, Plaintiff requests relief as set forth below.

                COUNT II - VIOLATION OF FLORIDA STATUTES §509 and §760 et al.

       47.     Plaintiff Gomez realleges and incorporates by reference the allegations set forth

in ¶¶s 1-31 and 33-46 above.

         48.     Defendant has violated Florida Statute §760, which provides all persons shall be entitled

 to the full and equal enjoyment of the goods, services, facilities, privileges, and advantages in any public

 accommodation, without discrimination or segregation on the grounds of handicap.

         49.     §760.02 (11) states that “public accommodations means places of public

 accommodation, lodgings, facilities principally engaged in selling food for consumption on the

 premises, gasoline stations, places of exhibition or entertainment, and other covered establishments.

 Each of the following establishments which serves the public is a place of public accommodation within

 the meaning of this section.”

         50.     Further, §760.02 (11)(b) states “Any restaurant, cafeteria, lunchroom, lunch counter,

 soda fountain, or other facility principally engaged in selling food for consumption on the premises” is

 subject to the Statute.

         51.     Defendant is a for profit restaurant and is a public accommodation within the meaning

 of §760.02(11).

         52.     Defendant’s failure to provide an accessible website to visually impaired persons fails

 to provide full and equal enjoyment of the goods, services, facilities, privileges, and advantages in any

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 public accommodation, without discrimination or segregation on the grounds of handicap in violation

 of §760.02.

         53.    As such, §760.11(5) provides that “in any civil action brought under this section, the

 court may issue an order prohibiting the discriminatory practice and providing affirmative relief from

 the effects of the practice. The court may also award compensatory damages, including, but not limited

 to, damages for mental anguish, loss of dignity, and any other intangible injuries, and punitive damages.

 The provisions of ss. 768.72 and 768.73 do not apply to this section. The judgment for the total amount

 of punitive damages awarded under this section to an aggrieved person shall not exceed $100,000.”

        54.    As result of Defendant’s discriminatory conduct in failing to provide an accessible

website, Plaintiff has suffered mental anguish and loss of dignity.

        55.    The failure of the Defendant’s website to accommodate Plaintiff Gomez is tantamount to

refusal to do so. As such, Defendant has also violated Florida Statute §509.092, which states that a public

food service establishment may not refuse accommodation or service to any person based upon physical

disability.

        56.    Defendant reasonably foresaw that visually impaired individuals would attempt to use its

website to gather information about the restaurant.

        57.    The violations of Florida law were deliberate and knowing.


                                        PRAYER FOR RELIEF

        WHEREFORE, Plaintiff prays for:

         a.      A Declaratory Judgment that at the commencement of this action Defendant was in
                 violation of the specific requirements of Title III of the ADA and Florida Statutes 509 and
                 760 as described above, and the relevant implementing regulations of the ADA, in that
                 Defendant took no action that was reasonably calculated to ensure that its Websites are
                 fully accessible to, and independently usable by, blind individuals;

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     b.       A permanent injunction pursuant to 42 U.S.C. § 12188(a)(2), 28 CFR § 36.504 (a), and
              Florida Statutes §760.02 and §509.092 which directs Defendant to take all steps necessary
              to bring the Website into full compliance with the requirements set forth in the ADA, and
              implementing regulations, so that the Website is fully accessible to, and independently
              usable by, blind individuals, and which further directs that the Court shall retain
              jurisdiction for a period to be determined to ensure that Defendant has adopted and is
              following an institutional policy that will in fact cause Defendant to remain fully in
              compliance with the law—the specific injunctive relief requested by Plaintiff is described
              more fully in Paragraph 6 above;

     c.      Payment of c osts of suit;

     d.      Payment of reasonable attorneys’ fees, pursuant to 42 U.S.C. § 12205 and 28 CFR §
             36.505;

     e.      Payment of Compensatory Damages to Plaintiff, including but not limited to mental
             anguish, loss of dignity, and any other intangible injuries pursuant to Florida Statute
             §760.11(5).

     f.      Retaining jurisdiction to permit Plaintiff to amend the Complaint after proffering a
             reasonable evidentiary basis for the award of punitive damages; and

     g.      The provision of whatever other relief the Court deems just, equitable and
             appropriate.


     Dated: July 11, 2019                         Respectfully Submitted,

                                                  /s/ Alberto R. Leal
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